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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                     )
                                           )
11380 SMITH RD LLC                         )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                             )      Chapter 11
                                           )
Debtor.                                    )
                                           )
                                           )
11380 SMITH RD LLC                         )
Movant,                                    )
                                           )
v.                                         )
                                           )
Owners Insurance Company and               )
355 Moline, LLC,                           )
                                           )
Respondents.

     ORDER GRANTING DEBTOR’S MOTION FOR RELIEF FROM THE AUTOMATIC
                                STAY


      THIS MATTER is before the Court on the Debtor’s Motion for Relief from the
Automatic Stay pursuant to 11 U.S.C. §§362(a) and 362(d)(1) (Docket No. 28, the
“Motion”)., The Debtor asserts it has provided proper notice of the Motion and no objection
has been filed. Accordingly, the Court being advised in the premises:

         HEREBY determines that cause exists to grant the Motion; and

       ORDERS that the Motion (Docket No. 28) is GRANTED and the automatic stay of
Section 362(a) is lifted to allow the following case pending in th United States District Court
for the District of Colorado to proceed: Owners Insurance Company, Plaintiff and
Counter Claim Defendant v. 11380 Smith Rd LLC and 355 Moline LLC, Defendants and
Counter Claim Plaintiffs, Case No. 17-CV-00346.


DATED: March 21, 2018                      BY THE COURT:



                                           ________________________________
                                           Thomas B. McNamara,
                                           U.S. Bankruptcy Judge
